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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                  CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


   MOTION TO WITHDRAW APPEARANCE AND REQUEST FOR REMOVAL FROM
                          SERVICE LISTS

         Plaintiffs,, by counsel, advises the Court and Defendant that Sherli Furst is no longer

  employed by Hunton Andrews Kurth, LLP. Accordingly, Plaintiffs move the Court to withdraw

  her appearance as counsel to Plaintiffs, and requests that she be removed from all service lists for
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  these proceedings, including the Court’s CM/ECF electronic notification list, reasonable notice of

  the same having been given to Plaintiffs pursuant to Local Civil Rule 83.1(G).

         Please take note that no other appearances filed on behalf of Plaintiffs shall be affected by

  this notice, and that Plaintiffs have been, and will continue to be, represented in this action by

  Hunton Andrews Kurth LLP, Elbially Law, PLLC and Latham & Watkins, LLP,



  Date: January 26, 2023               Respectfully submitted,


                                       /s/ Maya Eckstein
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                               Counsel for Plaintiffs
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 26th day of January 2023, I electronically mailed the foregoing

  to counsel of record in this case.

                                                       By:     /s/ Maya M. Eckstein
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